     Case 3:20-cv-04688-RS              Document 315-2           Filed 07/20/23          Page 1 of 12




1      BOIES SCHILLER FLEXNER LLP                                 SUSMAN GODFREY L.L.P.
       David Boies (admitted pro hac vice)                        Bill Carmody (admitted pro hac vice)
2      333 Main Street                                            Shawn J. Rabin (admitted pro hac vice)
       Armonk, NY 10504                                           Steven M. Shepard (admitted pro hac vice)
3
       Tel: (914) 749-8200                                        Alexander Frawley (admitted pro hac vice)
4      dboies@bsfllp.com                                          Ryan Sila (admitted pro hac vice)
                                                                  1301 Avenue of the Americas, 32nd Floor
       Mark C. Mao, CA Bar No. 236165
5                                                                 New York, NY 10019
       Beko Reblitz-Richardson, CA Bar No.
                                                                  Tel.: (212) 336-8330
6      238027
                                                                  bcarmody@susmangodfrey.com
       44 Montgomery St., 41st Floor
7                                                                 srabin@susmangodfrey.com
       San Francisco, CA 94104
                                                                  sshepard@susmangodfrey.com
       Tel.: (415) 293-6800
8                                                                 afrawley@susmangodfrey.com
       mmao@bsfllp.com
                                                                  rsila@susmangodfrey.com
9      brichardson@bsfllp.com
                                                                  Amanda K. Bonn, CA Bar No. 270891
       James Lee (admitted pro hac vice)
10                                                                1900 Avenue of the Stars, Suite 1400
       Rossana Baeza (admitted pro hac vice)
                                                                  Los Angeles, CA 90067
11     100 SE 2nd St., 28th Floor
                                                                  Tel.: (310) 789-3100
       Miami, FL 33131
                                                                  abonn@susmangodfrey.com
12     Tel.: (305) 539-8400
       jlee@bsfllp.com                                            MORGAN & MORGAN
13     rbaeza@bsfllp.com                                          John A. Yanchunis (admitted pro hac vice)
                                                                  Ryan J. McGee (admitted pro hac vice)
14     Alison L. Anderson, CA Bar No. 275334
                                                                  Michael F. Ram, CA Bar No. 104805
       M. Logan Wright, CA Bar No. 349004
15                                                                201 N. Franklin Street, 7th Floor
       725 S Figueroa St., 31st Floor
                                                                  Tampa, FL 33602
       Los Angeles, CA 90017
16                                                                Tel.: (813) 223-5505
       Tel.: (213) 995-5720
                                                                  jyanchunis@forthepeople.com
17     alanderson@bsfllp.com
                                                                  rmcgee@forthepeople.com
       mwright@bsfllp.com
                                                                  mram@forthepeople.com
18
                                      UNITED STATES DISTRICT COURT
19                                  NORTHERN DISTRICT OF CALIFORNIA
20
        ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21      JULIAN SANTIAGO, and SUSAN LYNN
        HARVEY individually and on behalf of all                  DECLARATION OF AMANDA BONN IN
22      other similarly situated,                                 SUPPORT OF PLAINTIFFS’ MOTION
                                                                  FOR CLASS CERTIFICATION AND
23                        Plaintiffs,                             APPOINTMENT OF CLASS
         v.                                                       REPRESENTATIVES AND CLASS
24
                                                                  COUNSEL
25      GOOGLE LLC,
                                                                  Judge: Hon. Richard Seeborg
26                        Defendant.                              Courtroom 3 – 17th Floor
                                                                  Date: October 5, 2023
27                                                                Time: 1:30 p.m.
28

        __________________________________________________________________________________________________________________
                DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 2 of 12




1                                     DECLARATION OF AMANDA BONN

2             I, Amanda Bonn, declare as follows.

3             1.       I am a partner with the law firm of Susman Godfrey LLP, counsel for Plaintiffs

4     in this matter. I am an attorney at law duly licensed to practice before all courts of the State of

5     California. I have personal knowledge of the matters set forth herein and am competent to testify.

6             2.       I submit this Declaration in support of Plaintiffs’ motion for class certification and

7     appointment of class representatives and class counsel.

8             3.       The three law firms representing Plaintiffs, Boies Schiller Flexner, Morgan &

9     Morgan, and Susman Godfrey (collectively, “Counsel”), have collectively invested significant

10    resources into investigating and litigating this case. Counsel now together move to be appointed

11    co-lead class counsel. See also Lee Declaration; Yanchunis Declaration.

12            4.       Counsel has diligently pursued discovery into Google’s collection, storage, and use

13    of (s)WAA-off data. Google initially proposed only three document custodians. Through Court

14    intervention, Counsel secured an additional 25 Google custodians. Counsel’s efforts, including the

15    filing of 18 discovery dispute letter briefs and/or motions to compel, have resulted in Google

16    producing tens of thousands of documents, spanning over two million pages. Counsel also served

17    285 RFPs, 25 Interrogatories and 52 RFAs, and Counsel successfully moved for an increase to the

18    presumptive limit of ten depositions per side, resulting in Plaintiffs taking 15 depositions of fact

19    witnesses. Counsel retained and onboarded 30 consultants and experts to assist with day-to-day

20    review of discovery and prepare reports.

21                     1.       Relevant Firm Expertise

22           5.        This complex technology class action demands lawyers skilled not only in

23    navigating and distilling complex technical details, but also in managing the complexities of large-

24    scale class actions with millions of potential plaintiffs. Susman Godfrey does both.

25

26

27

28    ___________________________________________________________________________________________________________________
          DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               1
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 3 of 12




1            6.          “Pick your metric—money, U.S. Supreme Court clerks, bet-the-company cases,

2     percentage of partners in trial annually—the firm runs circles around everyone else.” 1 Some of the

3     most sophisticated purchasers of litigation services rely on Susman Godfrey for all kinds of trials:

4     Uber, Zillow, Chevron, General Electric, NBCUniversal, Texas Instruments, and Wal-Mart to

5     name a few. For nearly 40 years, Susman Godfrey has been winning trials on both sides of the

6     docket, with plaintiffs’ verdicts totaling billions of dollars.

7            7.          Over the past decade, Susman Godfrey has successfully handled some of the

8     highest-profile technology cases against Google—including being selected as Uber’s lead-trial

9     counsel in Google’s case against Uber involving self-driving cars and a massive patent

10    infringement case relating to Google’s use and monetization of “user profile” data across a range

11    of its products.

12           8.          In 2017, Uber hired Susman Godfrey to be lead trial counsel in a case against

13    Google’s Waymo that was coined by the press as “Silicon Valley’s Biggest Showdown.” 2 The

14    trial involved complicated technology, patents, and trade-secret claims. Joined at trial by BSF and

15    MoFo, Susman Godfrey tried the case for three days before the case settled. As in this case, Google

16    was also represented by Quinn Emmanuel in the Waymo litigation.

17           9.          And presently, Susman Godfrey, together with Boies Schiller Flexner and Morgan

18    & Morgan, represent two certified Rule 23(b)(2) classes of Google account holders asserting seven

19    claims against Google for its collection, storage, and use of private browsing information. See

20    Brown v. Google LLC, Case 4:20-cv-03664-YGR (N.D. Cal.).

21           10.         Susman Godfrey has also served as lead counsel in some of the largest and most

22    complex class actions, spanning a wide variety of practice areas. 3 Susman Godfrey obtains

23
      1
        Katrina Dewey, Don’t Mess with Texas, Lawdragon, Dec. 3, 2017, available at
24    http://www.lawdragon.com/2017/12/03/dont-mess-texas-susman-godfrey-became-americas-
      leading-trial-firm/
25    2
        Waymo LLC v. Uber Techs., Inc., Case No. 17-cv-939-WHA (N.D. Cal.).
      3
26      See In re: Flint Water Cases / Carthan v. Snyder, Case No. 16-cv-10444 (E.D. Mi.) In re:
      Libor-Based Fin. Instruments Antitrust Litig., 11-md-0226 (S.D.N.Y.); In re Animation Workers
27    Antitrust Litigation, 14-cv-04062-LHK (N.D. Cal.).
28    ___________________________________________________________________________________________________________________
          DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               2
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 4 of 12




1     exceptional results for the classes it represents. The Chief Judge of the Southern District of New

2     York praised Susman Godfrey’s $130 million settlement against Phoenix Life Insurance as “an

3     excellent, excellent result for the class” and “the best settlement pound for pound for the class that

4     I’ve ever seen.” 4 Law360 recently named Susman Godfrey a CyberSecurity Group of the Year. 5

5            11.       A few examples of Susman Godfrey’s class action leadership include:

6             •     In Re: Tiktok, Inc Consumer Privacy Litigation: Appointed by the U.S. District
                    Court Northern District of Illinois to serve on the Steering Committee to
7                   represent plaintiffs in a Biometric Information Privacy Act class action MDL
                    against TikTok and its parent company. In October 2021 U.S. District Judge
8                   John Lee granted Plaintiffs’ motion for preliminary approval of a $92 million
                    litigation-wide settlement. If fully approved, this would end the 21 proposed
9                   class actions and mark one of the highest privacy-related settlements in the
                    country.
10
              •     In Re Blackbaud, Inc., Customer Data Security Breach Litigation. Appointed
11                  co-lead counsel in this multi-district litigation, which relates to a massive data
                    breach. Blackbaud, a cloud computing provider, maintains consumer data on
12                  behalf of thousands of non-profit corporations, hospitals, and educational
                    institutions. The complaint alleges that Blackbaud did not maintain adequate
13                  security measures, which led to a ransomware attack. The stolen data included
                    bank account information, social security numbers, health care data,
14                  usernames, and/or passwords.
15            •     In re Ripple Labs Litigation: Appointed by the California Federal Court to
                    serve as co-lead counsel in a securities fraud class action accusing Ripple Inc.
16                  of fraudulently offering an unregistered cryptocurrency known as Ripple in its
                    Initial Coin Offering (“ICO”) for its XRP token and Ripple’s alleged failure to
17                  comply with SEC registration requirements. Susman Godfrey recently secured
                    class certification for its clients.
18
              •     Audet v. Garza: Serving as lead counsel for a class of thousands of investors
19                  in GAW Mining LLC who allege that the cryptocurrency mining venture in
                    which they invested was in fact a Ponzi scheme.
20
              •     In re: Libor-Based Financial Instruments Antitrust Litigation: Secured, to
21                  date, $590 million in settlements for plaintiffs who allege several banks were
                    involved in setting LIBOR and manipulating it to their advantage. Barclays
22                  PLC agreed to pay $120 million, Citigroup agreed to pay $130 million,
                    Deutsche Bank agreed to pay $240 million, and HSBC agreed to pay $100
23                  million. Since that time, a multitude of lawsuits have been consolidated as part
                    of a multidistrict litigation proceeding. These settlements are each combined
24

25    4
       Fleisher v. Phoenix Life Ins. Co., Case No. 11-cv-8405 (S.D.N.Y.).
      5
26     Law360, Cybersecurity Group Of The Year: Susman Godfrey, available at
      https://www.law360.com/pulse/articles/1454702/cybersecurity-group-of-the-year-susman-
27    godfrey
28    ___________________________________________________________________________________________________________________
          DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               3
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 5 of 12



                    with breakthrough agreements with the defendant banks to cooperate with
1                   plaintiffs in the ongoing litigation.
2             •     In re: Automotive Parts Antitrust Litigation: Susman Godfrey serves as co-
                    lead counsel in this massive litigation that has been pending since 2011,
3                   racking up settlements that now exceed $1.2 billion.
4             •     In re: Animation Workers Antitrust Litigation: Secured more than $168
                    million in settlements ($147.3 million after fees and expenses) for a class of
5                   animation industry employees in this antitrust action against the largest
                    animation companies, including Disney, Pixar, Lucas Films, DreamWorks,
6                   and Sony, based on restrictions on their ability to compete against one another
                    for talent.
7
              •     Flint Water Crisis Litigation: Susman Godfrey chairs the Executive
8                   Committee in this multi-billion-dollar complex personal-injury and property
                    litigation on behalf of residents of Flint, Michigan, harmed by lead
9                   contamination of drinking water.
10            •     In re: Toyota Motor Corp. Unintended Acceleration Marketing, Sales
                    Practices, and Products Liability Litig.: Appointed by the Court as co-lead
11                  counsel to the plaintiffs, the Susman Godfrey team negotiated a deal with
                    Toyota Motor Corporation in which Toyota agreed to pay benefits worth up to
12                  $1.6 billion (approximately $1.4 billion after fees and expenses) to settle multi-
                    district class action litigation pending in federal court in Santa Ana, California.
13                  Plaintiffs brought the case over allegations of economic losses as a result of
                    recalls for defects causing unintended acceleration in Toyota, Lexus, and Scion
14                  vehicles.
15            12.      All stages of this action have benefited (and will continue to benefit) from Susman

16    Godfrey’s expertise in complex, technology-driven litigation, including against Google. And

17    should the case proceed to trial, counsel’s track record is formidable. All but the most junior

18    members of the Susman Godfrey team have tried cases involving complex technology to verdict—

19    including a massive case against Google tried in this district.

20                     2.       Team Members

21            13.      The Susman Godfrey lawyers presently working on this matter include partners Bill

22    Carmody, Amanda Bonn, Shawn Rabin, Ian Crosby, Steven Shepard, and associates Alexander

23    Frawley and Ryan Sila.

24            14.      Bill Carmody: In February 2018, in one of the most widely reported cases in

25    Silicon Valley history, Uber was defending itself against trade-secret claims by Google/Waymo

26    seeking roughly $2 billion. Just months before trial, Uber decided it “was important to have

27

28    ___________________________________________________________________________________________________________________
          DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               4
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 6 of 12




1     someone in the leading position who was a pure trial lawyer—someone whose core skill was

2     persuading a lay jury in a complex business case.” 6 So it tapped Bill Carmody. Four days after Mr.

3     Carmody gave public and sealed opening statements, and after Mr. Carmody and his team crossed

4     the plaintiff’s witnesses, Uber walked away with a settlement that was worth a fraction of what

5     Google/Waymo sought.

6              15.     Only two-and-a-half months before the Uber trial, on the other side of the country,

7     Mr. Carmody tried a contract case on the plaintiff’s side for General Electric in the Southern

8     District of New York, where the jury sided unanimously with GE and the court entered a judgment

9     valued at over $160 million. For over two decades, Mr. Carmody has tried bet-the-company cases

10    all around America on both sides of the “v.”.

11             16.     Mr. Carmody has also led some of the largest and most successful class actions in

12    history. A few recent examples include representing Yale University, the City of Baltimore, and

13    the purchasers of trillions of dollars in LIBOR-based financial products, where Mr. Carmody led

14    the charge against 16 of the world’s largest banks, having won certification of a national litigation

15    class and already settled with four of the banks for $590 million. While LIBOR was moving

16    forward, Mr. Carmody also recovered $220 million for a class of municipalities suing 10 banks

17    and brokers for rigging municipal derivative auctions. 7

18             17.     Outside of the class action context, Mr. Carmody has racked up impressive victories

19    for both plaintiffs and defendants in complex commercial cases. In the Novartis qui tam litigation,

20    Mr. Carmody secured settlements totaling $465 million in a novel anti-kickback case—the largest

21    recovery ever in a case of its kind. On the defense side, in the epic Fairfax litigation, where an

22    insurance company sought $8 billion in damages from short sellers for allegedly conspiring to

23    bring down the price of Fairfax’s stock, Bill and his team secured a full dismissal of Susman

24    Godfrey’s clients on summary judgment.

25    6
       Christine Simmons, Attorney of the Year Finalist: Bill Carmody, N.Y.L.J., Oct. 5, 2018, at
26    https://www.susmangodfrey.com/wp-content/uploads/2018/10/SG-Carmody-Video.pdf.

27    7
          In re: Municipal Derivatives Antitrust Litig., Case No. 08-md-2516 (S.D.N.Y.).
28    ___________________________________________________________________________________________________________________
            DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               5
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 7 of 12




1              18.     Mr. Carmody’s trial experience isn’t limited to any single area of law or type of

2     case, and clients routinely bring him in on the eve of trial. In one case, Mr. Carmody was hired

3     just 6 days before trial to defend an insurer in a bet-the-company class action—and secured a

4     unanimous jury verdict for his client. 8

5              19.     Mr. Carmody is a member of the American Board of Trial Advocates, a fellow of

6     the Litigation Counsel of America, and a fellow of the American Bar Foundation. He is listed in

7     The Best Lawyers in America in five categories, including Bet-the-Company Litigation. His peers

8     have voted him both a “New York Super Lawyer” and a “Texas Super Lawyer.” Mr. Carmody

9     was a top three finalist in 2018 for the New York Law Journal’s Attorney of the Year. He has been

10    honored by Law360 as one of its 10 Titans of the Plaintiffs Bar, named to the National Law

11    Journal’s list of Elite Trial Lawyers, and is routinely included in Benchmark’s Top 100 Trial

12    Lawyers. Mr. Carmody is also perennially listed in the Lawdragon 500, the guide to America’s

13    leading 500 lawyers, and was lauded as one of its 41 “Legal Legends.”

14             20.     Amanda Bonn: A graduate of Stanford Law School and a partner in Susman

15    Godfrey’s Los Angeles office, Ms. Bonn is a versatile trial lawyer who has litigated high-stakes

16    lawsuits on behalf of plaintiffs and defendants, in practice areas ranging from class actions to

17    intellectual property matters, at trial and on appeal.

18             21.     Ms. Bonn has been recognized as one of the 100 Top Women Lawyers in California

19    by the Daily Journal (2021), an Up-and-Coming Commercial Litigator in California by Chambers

20    & Partners (2021 and 2022), a Litigation Trailblazer by the National Law Journal (2020), one of

21    500 Leading Plaintiff Financial Lawyers nationwide by Lawdragon (2019-2021), and a member

22    of Benchmark Litigation’s “40 and Under Hot List” (2018-2021). Chambers reports that clients

23    and other lawyers have described her as:

24                     •    “She’s an extraordinary individual. She’s the best to work with, and is a smart,
                            nimble and dedicated lawyer.”
25

26

27    8
          Big Suits, “Beller et al. v. William Penn,” The American Lawyer, Sept. 2007.
28    ___________________________________________________________________________________________________________________
            DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               6
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 8 of 12




                       •    “Amanda’s work is superb. She’s a very gifted legal thinker, writer and oral
1                           advocate.”
2                      •    “She’s whip-smart, very practical, and easy to work with.”
3             22.      Ms. Bonn has overseen all strategic decision making in this case, and she argued
4     for the Plaintiffs on Google’s motion to dismiss the First Amended Complaint.
5             23.      Ms. Bonn is experienced in managing complex class actions and other complex,
6     multi-party litigation. Ms. Bonn currently leads the defense of the world’s leading commodity
7     trading firm, Vitol Inc., in an antitrust case alleging a conspiracy to inflate California gasoline
8     prices over a two-year period. Ms. Bonn was also a core member of the Susman Godfrey team
9     representing indirect purchasers in the In re: Qualcomm Antitrust Litigation before this Court. In
10    that capacity, Ms. Bonn was responsible for (1) writing some of plaintiffs’ most important briefs,
11    including plaintiffs’ successful opposition to Qualcomm’s motion to dismiss and reply in support
12    of class certification; (2) overseeing plaintiffs’ core experts on antitrust and FRAND licensing
13    issues (Prof. Elhauge, Mr. Lasinski, and Dr. Akl); and (3) deposing key Qualcomm witnesses,
14    including Qualcomm’s president Cristiano Amon and Qualcomm’s principal expert in opposition
15    to class certification, Dr. Johnson.
16            24.      Ms. Bonn also served as Susman Godfrey’s lead California counsel overseeing
17    sprawling litigation on behalf of dozens of California political subdivisions—including Los
18    Angeles County, the Regents of the University of California, and the California State University
19    system, to name a few—against the nation’s largest wireless carriers, AT&T, Verizon, and
20    Sprint/T-Mobile in Sacramento Superior Court. After years of hard-fought litigation under Ms.
21    Bonn’s leadership, Susman Godfrey achieved settlements that required the telecommunication
22    giants to pay $138 million to governments in California and Nevada.
23            25.      In addition to overseeing day-to-day litigation in complex cases, Ms. Bonn has also
24    successfully handled cases through trial and on appeal. In 2022, Ms. Bonn successfully tried a
25    multi-billion-dollar arbitration between Flutter International and FOX regarding (i) FOX’s option
26    to purchase a stake in Flutter’s subsidiary FanDuel, the leading online betting platform in the
27

28    ___________________________________________________________________________________________________________________
          DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               7
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 9 of 12




1     United States, and (ii) FOX’s claim that Flutter breached an agreement by failing to provide

2     “commercially reasonable resources” to betting platform FOX Bet. Ms. Bonn handled the entirety

3     of the FOX Bet component of the case, delivering opening statements, cross-examining FOX’s

4     technical expert, and presenting Flutter’s technical expert and the President of its International

5     Division. Ms. Bonn secured a complete victory for Flutter on the FOX Bet claim, with the

6     arbitrator finding that “the evidence presented at the Arbitration Hearing established

7     overwhelmingly that . . . Flutter has in fact invested disproportionate resources well beyond any

8     measure of commercial reasonableness,” and concluding that FOX’s claim was “meritless.” In

9     2019, Ms. Bonn briefed, argued, and won a Ninth Circuit appeal on behalf of an NBCUniversal

10    subsidiary against its insurer Atlantic Specialty Insurance Company in a case involving whether

11    Hamas’s bombing of Israeli civilian targets in 2014 constituted a “war” or “terrorism.” Following

12    remand, the case settled the night before trial in March 2020—a trial in which Ms. Bonn served as

13    co-lead trial counsel and was prepared to deliver closing arguments. And in 2018, Ms. Bonn

14    delivered the opening statement in a trade secret misappropriation jury trial on behalf of defense

15    contractor KBRWyle—winning a defense verdict on the plaintiff’s trade secret claim.

16            26.      Shawn Rabin: Mr. Rabin, a Partner in Susman Godfrey’s New York office and a

17    member of the firm’s Executive Committee, is nationally recognized for his trial successes in

18    complex cases. Along with Mr. Carmody, Mr. Rabin also represented Uber in its high-stakes trial

19    against Google/Waymo, where Mr. Rabin was scheduled to cross-examine the star witness

20    Anthony Levandowski two days after the case ultimately settled. Mr. Rabin played key roles in

21    major trial victories, including his direct examination of liability experts and cross examination of

22    defendants’ central fact witness in a breach-of-contract trial on behalf of General Electric, resulting

23    in a judgment valued at over $160 million.

24            27.      Mr. Rabin has also tried complex patent cases, including a jury trial on behalf of

25    C2 Communications against the nation’s largest telecommunications carriers for infringing a voice

26    over internet protocol (VoIP) patent; the case settled after the third day of trial, following the close

27

28    ___________________________________________________________________________________________________________________
          DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               8
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 10 of 12




1     of C2’s case-in-chief and Rabin’s direct examination of the patent’s owner and C2’s damages

2     expert. In recognition of his successes, the National Law Journal named Mr. Rabin a “Plaintiffs’

3     Lawyer Trailblazer” in 2018 and Benchmark Litigation included him on their “40 and Under Hot

4     List” in both 2018 and 2017. Super Lawyers has recognized Shawn as a “Rising Star” every year

5     from 2007 to 2017 and U.S. News – The Best Lawyers in America® named Shawn a top litigator

6     in New York for Commercial Litigation as part of their 2019 rankings.

7              28.      Mr. Rabin is also one of few lawyers who has actually tried a class action to a jury.

8     In 2011, Mr. Rabin tried a misclassification wage-and-hour class action before a Kentucky jury in

9     a three-week trial—obtaining a complete defense victory on behalf of The Rawlings Company.

10    While certified class actions often settle, Susman Godfrey is prepared to handle a class action case

11    through trial where doing so is in the best interests of the class.

12             29.      Steven Shepard: After graduating in 2007 from Yale Law School, Mr. Shepard

13    clerked for the Hon. Alex Kozinski on the Court of the Appeals for the Ninth Circuit, and for

14    Associate Justice Anthony M. Kennedy on the Supreme Court of the United States. He then served

15    as a Lieutenant in the Navy’s Judge Advocate General’s Corps for several years, trying dozens of

16    cases before joining Susman Godfrey.

17             30.      Mr. Shepard has been recognized by Lawdragon 500 as one of the nation’s

18    “Leading Plaintiff Financial Lawyers” in 2019, as a Rising Star by the New York Law Journal in

19    2019, and as one of Benchmark Litigation’s “40 and Under Hot List” in 2018. Mr. Shepard’s

20    relevant experience includes his work representing the class of indirect purchasers in the nation’s

21    largest indirect purchaser class action, In re Auto Parts, in which Susman Godfrey was appointed

22    co-lead counsel. Mr. Shepard assisted the class in obtaining more than $1.2 billion in settlements

23    in the case and in briefing and arguing key motions relating to the class notice procedures.

24             31.      Mr. Shepard—along with Mr. Carmody and Ms. Bonn—also played a key role in

25    the massive California False Claims Act case of State of California ex rel. OntheGo Wireless v.

26    Cellco Partnership. In Cellco, Mr. Shepard oversaw all aspects of the complex expert damages

27

28     ___________________________________________________________________________________________________________________
           DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                                9
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 11 of 12




1     analysis, which required reconstruction and alternative analysis of hundreds of thousands of

2     government employees’ cell phone usage and billing records.

3              32.      Ian Crosby: Ian Crosby is a partner at Susman Godfrey L.L.P. in Seattle,

4     Washington. In over twenty years of practice with Susman Godfrey, Mr. Crosby has represented

5     corporations, universities, and individuals as plaintiffs and defendants in a wide variety of

6     intellectual property and commercial disputes and transactions involving intellectual property,

7     including patents, trade secrets, and copyrights. Mr. Crosby is recognized by U.S. News – The

8     Best Lawyers in America® for Intellectual Property and Patent Litigation, has been a national

9     meeting presenter and panelist for the American Intellectual Property Association, and is a

10    recipient of the 2017 Editor’s Choice Award from Managing IP. Before joining Susman Godfrey,

11    Mr. Crosby clerked for the Hon. Robert Boochever on the United States Court of Appeals for the

12    Ninth Circuit, and for Chief Judge John Coughenour on the United States District Court for the

13    Western District of Washington. Mr. Crosby holds a BA with a faculty commendation for

14    excellence from Reed College, and a JD with high honors from the University of Texas at Austin.

15             33.      Alexander Frawley: Mr. Frawley, a graduate of the University of Pennsylvania

16    Law School, joined Susman Godfrey following clerkships with the Honorable Dennis Jacobs,

17    United States Court of Appeals for the Second Circuit, and the Honorable Katherine B. Forrest,

18    United States District Court for the Southern District of New York. Prior to clerking, Mr. Frawley

19    began his career at Davis Polk & Wardwell LLP. During law school, Mr. Frawley served as an

20    Executive Editor of the University of Pennsylvania Law Review and a teaching fellow for the first-

21    year legal writing program. Mr. Frawley, one of the most junior members of Plaintiffs’ Counsel

22    team, has taken four depositions in this case, including of a Google expert.

23             34.      Ryan Sila: Ryan Sila, a graduate of New York University School of Law, joined

24    Susman Godfrey following clerkships with the Honorable Raymond J. Lohier, Jr., of the United

25    States Court of Appeals for the Second Circuit, and the Honorable Jesse M. Furman, of the United

26    States District Court for the Southern District of New York. Before his clerkships, Mr. Sila began

27

28     ___________________________________________________________________________________________________________________
           DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               10
    Case 3:20-cv-04688-RS             Document 315-2            Filed 07/20/23         Page 12 of 12




1     his career as an associate at Cravath, Swaine & Moore LLP, where he represented Pacific Gas &

2     Electric Company in litigation and investigations arising from the 2017 and 2018 forest fires in

3     Northern California, as well as the Tesla Board of Directors in litigation arising from Tesla’s

4     acquisition of SolarCity. During law school, Mr. Sila served as an Articles Editor of the N.Y.U.

5     Law Review, a teaching assistant for Dean Trevor Morrison, and a research assistant for Professor

6     Barry Friedman. Mr. Sila, one of the most junior members of Plaintiffs’ Counsel team, has taken

7     four depositions in this case, including of a Google expert.

8

9              I declare under penalty of perjury under the laws of the United States of America that the

10    foregoing is true and correct. Executed this 20th day of July, 2023, at Los Angeles, California.

11                                                                   /s/ Amanda Bonn
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28     ___________________________________________________________________________________________________________________
           DECLARATION OF AMANDA BONN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                               11
